Case 3:17-cv-00072-NKM-JCH Document 452 Filed 03/20/19 Page 1 of 2 Pageid#: 4165
                                                                                        03/20/2019



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

  ELIZABETH SINES et al.,                      )
       Plaintiffs,                             )       Civil Action No. 3:17-cv-00072
                                               )
  v.                                           )       ORDER TO SHOW CAUSE
                                               )
  JASON KESSLER et al.,                        )       By:     Joel C. Hoppe
       Defendants.                             )               United States Magistrate Judge

         On November 13, 2018, the Court entered an order granting Plaintiffs’ motion to compel

  the production and inspection by a third-party vendor of discoverable electronically stored

  information, ECF No. 354, as a necessary and appropriate step to manage discovery in this case,

  ECF No. 379. On November 19, the Court adopted and entered the parties’ Stipulation and Order

  for the Imaging, Preservation, and Production of Documents. ECF No. 383. The Stipulation and

  Order expressly instructed that, within twenty-eight days from the date of entry, Defendant

  VANGUARD AMERICA, as well as the other Defendants that had “stipulated and agreed to” the

  document’s terms, “shall make available to the Third Party Discovery Vendor for imaging and

  collection any Electronic Device or Social Media Account identified . . . and selected by

  Plaintiffs” in accordance with the parties’ agreement. See Stip. & Order 2, 8.

         On March 1, 2019, the Court held a telephonic hearing on an unrelated motion filed by

  James Kolenich, Esq., and Elmer Woodard, Esq., who also represent Defendant VANGUARD

  AMERICA in this matter. At this hearing, the Court addressed certain discovery concerns raised

  by Plaintiffs’ counsel in correspondence sent to the Court and to all defense counsel on February

  27, 2019, including that the Third Party Discovery Vendor had not yet received a single

  electronic device from any Defendant as required by the Stipulation and Order entered on

  November 19, 2018. On March 4, 2019, the Court issued an Order directing that



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Case 3:17-cv-00072-NKM-JCH Document 452 Filed 03/20/19 Page 2 of 2 Pageid#: 4166




         All Defendants covered by the Stipulation & Order, ECF No. 383, must produce
         their electronic devices and social media account credentials to access
         electronically stored information (“ESI”) to the third-party vendor by the end of
         the day on Friday, March 8, 2019.

  Order of Mar. 4, 2019, at 2, ECF No. 440. On March 18, the Court held another status and

  discovery conference with counsel for the parties, at which Mr. Kolenich appeared by telephone.

  See ECF No. 450. At this hearing, it became clear that, despite being on notice of their obligation

  to do so, the officers, directors, or managing agents of Defendant VANGUARD AMERICA had not

  made any effort to comply with the Court’s orders directing Defendant to permit or provide

  discovery by March 8, 2019, at the absolute latest.

         Accordingly, it is hereby ORDERED that, within fourteen (14) days from the date of this

  Order, Defendant VANGUARD AMERICA shall file a written response showing cause why it

  should not be held in contempt of court for its failure to obey, Fed. R. Civ. P. 37(b)(2)(A)(vii),

  this Court’s orders to permit or provide discovery entered on November 19, 2018, and March 4,

  2019, ECF Nos. 383, 440.

         It is so ORDERED.

                                                        ENTER: March 20, 2019



                                                        Joel C. Hoppe
                                                        U.S. Magistrate Judge




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